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16
                        IN THE UNITED STATES DISTRICT COURT
17                          FOR THE DISTRICT OF ARIZONA
18
     Rong Zhang, et al.,                              No. CV-21-01079-PHX-SMB
19
20                Plaintiffs,                         PLAINTIFFS’ STATUS REPORT
           v.
21
22   Voice of Guo Media, Inc., et al.,

23                Defendants.
24
25
26          Plaintiffs Rong Zhang, Xiaodan Wang, and Chong Shen Raphanella, on behalf of
27   themselves and purportedly similarly situated individuals in the above titled action,
28   respectfully submit this status report in accordance with this Court’s June 15, 2023 Order
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 1   (ECF No. 100). Plaintiffs wish to inform Your Honor that they intend to file a motion for
 2   class certification no later than June 30, 2023, to be followed by a motion for a default
 3   judgment as against the four defaulting Defendants: VOG; Wei; Saraca; and GTV.
 4          With respect to the remaining defendants in this action: (1) an entry of default was
 5   made as to Defendants Voice of Guo Media Inc. (“VOG”) and Sara Wei (“Wei”) on June
 6   2, 2022 (ECF No. 50); (2) an entry of default was made as to Defendants Saraca Media
 7   Group Inc. (“Saraca”) and GTV Media Group Inc (“GTV”) on April 25, 2023 (ECF No.
 8   99); and (3) this case is subject to an automatic bankruptcy stay as to Defendant Miles
 9   Guo.1 As the Court may be aware, Mr. Guo is currently incarcerated and awaiting trial in
10   the Southern District of New York on fraud charges related to the facts of this case. The
11   bankruptcy case is ongoing, though delays and obstruction by Guo and related entities
12   including Defendants GTV and Saraca have served to prolong the proceedings.2 Plaintiffs
13   believe that this issue creates an impediment to obtaining a default judgment against all
14   Defendants in this case, and highlight this issue now as they intend to ask that the Court
15   consider whether these circumstances warrant an exception to the principle that “[i]f a
16   jointly liable co-defendant defaults, a court should not enter judgement until the matter
17   with all defendants is adjudicated in order to avoid incongruous judgments.” Deveraux v.
18   Sison, No. CV-18-04882-PHX-DJH, 2020 WL 5725183, at *1 (D. Ariz. Sept. 23, 2020)
19   (citing Frow v. De La Vega, 82 U.S. 552, 554 (1872)).
20          We thank Your Honor for the Court’s attention to this matter, and are happy to
21   answer any questions regarding this case.
22
23   1
       Plaintiffs have learned since filing the First Amended Complaint that Defendant Guo’s
24   legal name is Ho Wan Kwok, under which name he filed bankruptcy. For the sake of
25
     conformity with prior pleadings, Plaintiffs will continue to use the name Guo, the name he
     was known to Plaintiffs as during the facts of this case.
26   2
      See, e.g., Order Requiring GTV Media, Inc. Saraca Media Group, Inc. and Attorney
27   Aaron A. Mitchell to Appear and Show Cause Why GTV Media, Inc. and Saraca Media
     Group, Inc. Should Not Be Held in Civil Contempt of Court, In Re Ho Wan Kwok et al,
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     No. 22-50073 (JAM) (Bankr. D. Conn., filed June 7, 2023).

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     Dated: June 28, 2023              Respectfully Submitted,

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17                                     Wang, and Chong Shen Raphanella and
18                                     Proposed Lead Counsel for the Class

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